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                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF LOUISIANA

    NELSON, et al.,

            Plaintiffs,
                                                                  CIVIL ACTION NO. 3:20-cv-00837-JWD-
            v.                                                    RLB

    LANDRY, et al.,

            Defendants.


       PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
                        EXTEND DISCOVERY DEADLINE

           COME NOW, Plaintiffs, by and through undersigned counsel, who respectfully request this

Honorable Court deny the Attorney General’s Motion to Extend Discovery Deadline as the

Defendants have not demonstrated “good cause” for their requested extension to the deadline for

fact discovery under Fed. R. Civ. P. 6(b)(1) and Fed. R. Civ. P. 16(b)(4). Defendants’ Motion should

be denied.

I.         BACKGROUND

           This Court’s order dated August 16, 2022, ECF No. 87, granted the parties’ request to extend

the August 15, 2022, deadline for filing all discovery motions and completing all discovery except

expert discovery until September 15, 2022, without extending any other deadlines. Id. Plaintiffs

requested that 30-day extension to a single deadline only at Defendants’ request. 1 Plaintiffs were

prepared to depose OMV’s 30(b)(6) designee before the August 15 fact discovery deadline, 2 but

counsel for Defendants relayed that they could not prepare their designee in time to be deposed prior


1   See Ex. 1, Email Exchange August 11, 2022.
2   See id. Email from Samantha Bosalavage, August 5, 2022.




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to the August 15 deadline, so Plaintiffs requested a brief extension to allow Defendants flexibility for

that single remaining deposition. 3 Plaintiffs explicitly did not seek an extension of any other deadlines.

ECF No. 80, at 4. Plaintiffs are working diligently to meet the upcoming deadline to submit their

expert reports on October 3, just over two weeks away. ECF No. 71. Defendants are now, on the day

that fact discovery is scheduled to close, seeking a last-minute 30-day extension of the fact discovery

deadline and cannot show good cause under the circumstances detailed below. ECF No. 89.

         After concluding fact depositions, Plaintiffs’ counsel reached out to counsel for the Attorney

General on August 29 via phone to inquire about two Plaintiffs who were adjudicated delinquent

before January 1, 2008, and, per the Attorney General’s 30(b)(6) designee’s testimony, should therefore

not be subject to the registration requirements. 4 Defendants’ counsel stated that they would need to

check to make sure that neither of these Plaintiffs had separately signed plea agreements regarding the

registration requirements. Defendants’ counsel raised the possibility of Rule 45 subpoenas for the first

time via email on August 30, indicating that they would send the subpoenas for Plaintiffs’ review the

following day, but omitting that they also intended to issue subpoenas for records of the other four

Plaintiffs. 5 When Plaintiffs’ counsel did not hear from Defendants the following day, Plaintiffs’

counsel called Defendants’ counsel on September 1 to inquire about the subpoenas and left a

voicemail to that effect.

         On September 2, Plaintiffs received the subpoenas and learned for the first time that

Defendants would be issuing them for all Plaintiffs, that they would be serving ten different expansive

record requests for each Plaintiff, and that they would be filing motions in the juvenile court to obtain


3 See id. Email Exchange August 11, 2022.
4 See Ex. 2, Email from Samantha Bosalavage, August 29, 2022 (memorializing earlier phone conversation).
5 See id. Email from Carey Jones, August 30, 2022.




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additional records. 6 The next business day, Plaintiffs responded, expressing their opposition to the

subpoenas, in part due to their untimeliness. 7 On September 9, Defendants served subpoenas on

twelve different third-party recipients, requesting ten different items of each party, with a return date

of six business days. 8 That same day, Plaintiffs filed a Motion for Protective Order, or Alternatively,

Motion to Quash Subpoenas. ECF. No. 88. Plaintiffs’ counsel then began reaching out to the non-

parties to alert them of the pending Motion. 9

II.      LAW & ARGUMENT

         Motions for extension of time are governed by Fed. R. Civ. P. 6(b), which reads: “When an

act may or must be done within a specified time, the court may, for good cause, extend the time…

if a request is made, before the original time or its extension expires.” Fed. R. Civ. P. 6(b)(1) (emphasis

added). Generally, to show “good cause,” the moving party must demonstrate that the deadlines

“could not ‘reasonably be met despite the diligence of the party needing the extension.’” Robinson v.

Babin, 2013 WL 4499111, at *2 (M.D. La. Aug. 14, 2013) (Bourgeois, Mag. J.) (quoting S & W Enters.,

L.L.C. v. S. Trust Bank of Ala., NA, 315 F.3d 533, 535 (5th Cir. 2003)).

         Defendants’ only stated reason for the requested 30-day extension does not satisfy the “good

cause” standard. In their Motion, Defendants’ only stated reason for why they need these documents

is: “[t]he records of the District Attorneys, the Sheriffs and the juvenile court go directly to the material

allegations of the federal complaint, and enable the Attorney General to apprise the Court and expert

witnesses.” ECF. No. 89-1, at 2. Plaintiffs have briefed the lack of need for these records in depth in



6 See Ex. 3, Email from Carey Jones, September 2, 2022; As Plaintiffs explained to Defendants, Plaintiffs do not oppose
the subpoena for Plaintiffs Jacob Paul Chiasson’s and Shawn Mounce’s records to the extent that they seek information
about the plea agreement each plaintiffs made for their underlying adjudication. Id. at Email from Samantha Bosalavage,
September 6, 2022.
7 See Ex. 3 Email from Samantha Bosalavage, September 6, 2022.
8 ECF Nos. 88-2 & 88-3.
9 Plaintiffs’ intention was not to instruct the non-parties not to comply with the subpoena. Rather, Plaintiffs sought to
notify the subpoena recipients of the Motion for Protective Order and Motion to Quash, and to request that they await
the resolution of the motion before fulfilling the subpoena.

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support of their Motion for Protective Order, or Alternatively, Motion to Quash Subpoenas. ECF

No. 88-1. As this Court previously recognized, “[g]iven Plaintiffs’ allegations, which do not challenge

the validity of the underlying adjudications, it is unclear whether Plaintiffs’ juvenile records, to the

extent not already disclosed to the public, have any relevance to the claims and defenses in this action.”

ECF No. 25, at 11 n.9. This Court has already indicated that it does not need to be further apprised

of the details of Plaintiffs’ underlying juvenile adjudications. These records cannot be material when

the Court has already indicated their irrelevance. The other potential criminal records requested—

dating back twenty-two years—are merely a distraction from the relevant claims, along with the

threatened disclosure of potentially embarrassing information.

         Along similar lines, Defendants’ requested extension also does not meet the “good cause”

standard under Fed. R. Civ. P. 16(b)(4), as the four relevant factors mitigate in favor of denying the

extension request:

         (1) The Explanation for the Failure to Timely Comply with the Scheduling Order

         The Attorney General’s need for an extension is due to their own delay. The Attorney General

could have issued the subpoenas at many other points over the course of the discovery period before

waiting until the eleventh hour. Plaintiffs are perplexed by Defendants’ claim that they had to wait

until the conclusion of fact depositions to issue the subpoenas, 10 as all the information requested in

the attachments to the subpoenas is identical for each plaintiff and is not specific to any information

garnered from the Plaintiffs’ deposition testimony. 11 To the extent Defendants needed to know whom

to subpoena, Plaintiffs’ discovery responses disclosed on November 5, 2021, included the court of


10 See Ex. 3, Email from Carey Jones, September 7, 2022 (“[W]e had to wait for the deposition testimony to know what
to request and who to request it of.”).
11 See, e.g., ECF. No. 88-2, at 6, 13, 20, 27, 34, 41.




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adjudication, which would be sufficient for Defendants to identify the sheriffs and district attorneys

in the relevant parishes. 12 Furthermore, Plaintiffs are unsure why Defendants had to wait until after

the conclusion of all Plaintiffs’ depositions, as Plaintiffs produced all the documents in their

possession that were responsive to Defendants’ discovery requests on July 28, 2022, after the

Protective Order was in place. 13 Defendants could also have issued the subpoenas at that point.

Plaintiffs’ depositions took place between July 29 and August 10, 2022. Again, even if they had to wait

until the conclusion of all Plaintiffs’ depositions, the Defendants waited a full month after the last

Plaintiff deposition before issuing the subpoenas for all Plaintiffs.

         The Attorney General makes much of the fact that Plaintiffs have previously requested to

extend the discovery deadline twice, 14 but the past two requests were based on dilatory behavior on

Defendants’ part. The first extension was requested in part because of Defendants’ months-long delay

in responding to Plaintiffs’ discovery requests. See ECF No. 70, at 2-3 (describing how the Attorney

General did not produce responses originally due on December 6, 2021, until February 28, 2022). The

second extension was requested in order to accommodate the Defendants’ inability to produce a

deponent within the discovery period. 15 The instant extension is not comparable to Plaintiffs’ past

requests, as this request was filed at the eleventh hour in order to procure documents that are irrelevant

and immaterial to the litigation.



12 See, e.g., Ex. 4, Plaintiff Jacob Chiasson’s Response to Defendants’ First Set of Discovery Requests, at RFA No. 2

Response.
13 Despite Defendants’ representations to the contrary, Plaintiffs disclosed all the documents in their possession. Jacob

Chiasson tried to obtain his juvenile court records directly from the court prior to the filing of this lawsuit and they were
not able to provide him with any records or other documentation.
14 The Attorney General also references another “extension” Plaintiffs’ requested in the last few days as Defendants’

Motion for an Extension was being written, but that mischaracterizes what Plaintiffs were proposing. Plaintiffs were merely
trying to avoid the need to file a motion to compel on a couple remaining documents from other defendants’ 30(b)(6)
depositions, as counsel for those Defendants had indicated she would be able to produce them on what Plaintiffs
considered to be a reasonable timeline, and Plaintiffs were trying to accommodate that timeline (and avoid the need for
either a motion to compel) by having all parties stipulate that they would not raise timeliness objections to their use. See
ECF No. 89-2. Plaintiffs’ counsel inadvertently left Mr. Jones off that email, but other counsel from the Attorney General’s
office were included on that email.
15 See Ex. 1, Email Exchange August 11, 2022.


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         (2) The Importance of the Extension

         The only rationale the Attorney General provides for the importance of these records is their

materiality, which as previously explained is simply nonexistent. Plaintiffs’ underlying juvenile

adjudications are not the subject matter of this lawsuit, and full and complete records of those

adjudications—as well as records related to any other adjudications, arrests, or convictions—are

wholly removed from the issues in contention in this case.

         As Plaintiffs have previously stated “Plaintiffs do not oppose the subpoenas for Plaintiffs

Jacob Paul Chiasson’s and Shawn Mounce’s records to the extent that they seek information about

the plea agreement each plaintiffs made for their underlying adjudication.” ECF No. 88-1, at 4 n.11.

The Attorney General does not address the importance of any other records besides Plaintiffs Jacob

Paul Chiasson and Shawn Mounce because they are clearly immaterial.

         That these two Plaintiffs are currently required to register seems to be an error of the State’s

making. In Plaintiffs’ original Complaint, as well as the initial disclosures produced on November 5,

2021, Plaintiff Jacob Chiasson, admitted that he was adjudicated delinquent of a registerable offense

in 2005, 16 and Plaintiff Shawn Mounce admitted that he was adjudicated delinquent of a registerable

offense in 2007, 17 both before the January 1, 2008, change in the law requiring juveniles to register.

Defendants have known these dates since the outset of the litigation, but have waited more than a

year-and-a-half to serve the subpoenas and file the motions for juvenile records in state court.

         (3) Potential Prejudice in Allowing the Modification

         If the Court grants Defendants’ Motion, Plaintiffs will be prejudiced in their inability to

incorporate a review of these records in the expert reports due on October 3, 2022, which is before



16 See ECF No. 1, at ¶ 16; Ex. 4, Plaintiff Jacob Chiasson’s Response to Defendants’ First Set of Discovery Requests, at

RFA response No. 3.
17 ECF No. 1, at ¶ 15; Ex. 5, Plaintiff Shawn Mounce’s Response to Defendants’ First Set of Discovery Requests, at RFA

response No. 3.

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Defendants’ proposed extended fact discovery deadline of October 15, 2022. Moreover, it is unlikely

that a 30-day extension will suffice for Defendants’ requested records. As Defendants acknowledged,

“Depending upon the ruling on the motion for protective order recently filed by Plaintiffs with respect

to the Rule 45 subpoenas, the discovery deadline might need further adjustment.” ECF No. 89-1, at

1 n.1.

         Defendants’ subpoenas only gave the non-parties 10 days—6 business days—to comply,

which this Court has acknowledged is an insufficient time-frame. See Hall v. Louisiana, 2014 U.S. Dist.

LEXIS 56165, 2014 WL 1652791, at *13 (M.D. La. April 23, 2014) (quashing subpoenas that gave

non-parties between 12 and 9 days to comply because the “timeframes are clearly unreasonable,

particularly when the 14 day period for serving objections under [Rule 45(d)(2)(B)] is generally

considered a reasonable time”); Dixon v. Greyhound Lines, Inc., No. 13-179-JWD-RLB, 2014 U.S. Dist.

LEXIS 162234, at *11 (M.D. La. Nov. 19, 2014) (quashing subpoena as unreasonable because it only

gave 9 days to comply). 18

         Additionally, the Attorney General’s motions filed in state court to obtain the juvenile court

records are unlikely to resolve within the requested extension’s timeframe. Plaintiffs are opposing

these motions. The Louisiana Children’s Code Art. 412(E)(3), under which the Attorney General is

seeking the records, requires a contradictory hearing. 19 The Attorney General and Plaintiffs will need

to conduct six separate hearings in juvenile courts around the state to determine whether the state

juvenile courts may release these sealed records.




18 See also Hernandez v. City of Corpus Christi, 2011 U.S. Dist. LEXIS 60452, 2011 WL 2194254, at *1 (S.D. Tex. June 6, 2011)
(quashing subpoena that only gave 10 days for compliance).
19 “The court shall ensure the juvenile is afforded notice of the hearing and an opportunity to be heard at a contradictory

hearing on the petition.” La. Ch. C. Art. 412(E)(3).

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        Ultimately, the Attorney General’s last-minute attempt to obtain these records is serving as a

distraction from the actual claims at issue and presents a risk of undue prejudice against Plaintiffs in

both the unnecessary delay and distraction with irrelevant and potentially embarrassing information.

        (4) The Availability of a Continuance to Cure Such Prejudice

        While the State is not currently seeking a continuance, as explained above, it appears likely that

a continuance will become necessary should the Court deny Plaintiffs’ Motion for Protective Order

and allow for these voluminous records from multiple different entities.

III.    CONCLUSION

        Plaintiffs would have no opposition to a routine request for extension. As noted above,

Plaintiffs were amenable to a 30-day extension when Defendants needed more time to complete the

final 30(b)(6) deposition. But what the Attorney General is seeking with this extension is an eleventh-

hour attempt to introduce voluminous documents from many state actors that are irrelevant and

distracting to the instant litigation.

        For these reasons, Plaintiffs respectfully ask that this Court deny Defendants’ motion to

extend the discovery deadline.

Respectfully submitted this 16th day of September, 2022.

                                                        /s/ Mercedes Montagnes
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